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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                   X
UNITED STATES OF AMERICA

           - V -
                                               20 Cr. 160   (MKV)
ALEXANDER CHAN, et. al. ,

                   Defendant.
                                   X




            MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT
               ALEXANDER CHAN'S MOTION TO SUPPRESS
      WIRETAP INTERCEPTIONS AND GRANT AN EVIDENTIARY HEARING




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             - v. -
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           MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT
              ALEXANDER CHAN'S MOTION TO SUPPRESS WIRETAP
    INTERCEPTIONS AND CONDUCT AN EVIDENTIARY HEARING


                         PRELIMINARY STATEMENT

     Alexander Chan, by undersigned counsel, respectfully submits

this Memorandum of Law pursuant to 18 U.S.C. § 2518(10)            and

Franks v. Delaware,    438 U.S. 154       (1978) in support of his Motion

t o Suppress Wiretap Interceptions on the grounds that the

evidence was obtained in violation of Title III of the Omnibus

Crime Control and Safe Streets Act of 1968          ("Title III") , and 18

U.S.C.   §§ 2510-2522.

     Specifically we seek to suppress evidence obtained as a

r esult of wiretap authorizations for phones used by Jason Servis,

based on an Affidavit dated April 30, 2019 and subsequent Order

extending the wiretap; as well as Kristian Rhein, based on an

A ffidavit dated June 27, 2019, and subsequent Order for

extension.

     Conversations with Alexander Chan were unlawfully obtained



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as a result of these wiretaps and Mr. Chan is an aggrieved party

with standing to bring this motion pursuant to 18 U.S.C. §2510

( 11) . Pursuant to 18 U.S.C. §2515, if the interception of a

c ommunication violates Title III, "no part of the contents of

such communication and no evidence derived therefrom may be

r eceived in evidence in any trial, hearing, or other proceeding

in or before any court. . . ."

     Accordingly, Alexander Chan joins in the motion to suppress

wiretap evidence submitted by defendant Jason Servis as well as

any exhibits and factual statements made in support of that

motion.

     When the FBI filed wiretap affidavits to intercept calls

f rom Jason Servis and Kristian Rhein, they knowingly and

intentionally misrepresented to the court that SGF-1000 and

Clenbuterol were performance enhancing drugs        ("PEDs") . They did

s o despite knowledge that SGF-1000 had been tested by a world

r enown laboratory, the Hong Hong Jockey Club Lab, which the FBI

itself relied upon for testing, and had been found not to be a

PED nor to contain growth factors. Those tests were conducted on

at least two separate occasions by the Hong Kong Jockey Club lab

and one other lab at U.C. Davis Maddy laboratory (at the request

o f the Racing Medication and Testing Consortium in 2014) . Each

test confirmed the same result. They intentionally omitted from

their affidavits any test results finding that SGF-1000 was not a



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PED. They claimed without any scientific basis, that Clenbuterol

was a PED, despite its wide acceptance in the Racing industry as

a therapeutic drug which is commonly used. They omitted from

advising the Court in their affidavits that blood tests conducted

f or post race testing during this multi year investigation, did

not demonstrate that Jason Servis had ever used a PED for any of

his horses.

     The affidavits filed in support of the wiretap applications

f or Servis and Rhein violated the statutory obligation of candor

and truthfulness to the court, and as a result, the intercepted

phone calls were in violation of the requirements established by

Title III.    The wiretap authorizations were obtained based on

sworn affidavits of FBI Agents that was rife with "deliberately

or recklessly false statement[s]" and material omissions of

s tatutorily and constitutionally required information. Id. at

165. Franks instructs a District Court to hold a hearing to

determine whether the alleged misstatements or omissions in the

wiretap affidavits were made intentionally or with reckless

disregard or the truth and if so, whether such misstatements and

omissions were material.

     Title III obligated the affidavits to contain "full and

complete" statements of fact establishing both (1) probable cause

to believe that the targeted cell phones were being used in

furtherance of one or more of the predicate offenses specifically



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enumerated in 18 U.S.C. § 2516; and (2)    the necessity of resorting to

a wiretap because less intrusive investigative techniques had failed

or would be futile if tried. We challenge the wiretap Orders based on

the failure of the affidavits submitted for Servis and Rhein, to meet

these requirements.   As with all such ex parte applications, the

Court's ability to provide the independent and impartial review that

the Fourth Amendment and Title III require was dependent on the

government's full, complete, forthright and truthful disclosure in

their supporting affidavits.

     However, the Affidavits submitted did exactly the opposite,

f orsaking the obligation of candor and forthcoming disclosure in favor

o f intentionally false and misleading statements, strategically

selective disclosures, material misstatements of evidence, and the

withholding of critical and statutorily required information essential

to the court's review of the application. As a result, the courts were

misled into finding that the Title III requirements were satisfied and

issued the requested wiretap   authorization for both Servis and Rhein.

     The wiretap authorizations based on the affidavits submitted with

intentionally false and misleading statements, results in a lack of

probable cause for the issuance of such warrants when these material

s tatements are eliminated because they are at the very heart of the

probable cause allegations. Material omissions, made with a reckless

disregard for the truth, would also have demonstrated that probable

cause did not exist. The affidavits also failed to demonstrate the

requisite necessity for the issuance of wiretap authorizations.

     In addition, suppression is warranted because the wiretaps were


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directed at an offense, misbranding, which is not an offense for which

Congress has authorized the use of wiretaps as part of Title III's

carefully limited grant of authority for "employment of this

extraordinary investigative device." United States v. Giordano, 416

U.S. 505, 527    (1974) . Although the Government, in its submitted

a ffidavits cited other authorized offenses, and recognized that

misbranding was not an authorized offense, the affidavits asserted

f acts solely addressing the offense of misbranding, with broad

conclusory assertions as to other designated offenses, unsupported by

f acts. It was not until subsequent affidavits were submitted with

f actual assertions related to authorized crimes, that Title III's

r equirements were met. However, the evidence derived for those

subsequent affidavits came from the initial illegal wiretaps and thus

must result in suppression.

      Moreover, the affidavits were misleading and incomplete in its

r equirement to explain to the Court that "normal investigative

procedures have been tried and have failed or reasonably appear to be

unlikely to succeed if tried or to be too dangerous." 18 U.S.C.

§2518(3) (c) .

      Genuinely independent judicial review of wiretap applications

cannot function, nor can Congress' "overriding congressional concern"

f or the privacy of the countless individuals whose conversations are

recorded, Gelbard v. United States, 408 U.S. 41, 48     (1972) , be

protected, when the government's duty of full and forthright

disclosure to the authorizing court is so broadly disregarded. For a

wiretap to pass constitutional muster, a fully informed court must



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independently determine that "special facts" demonstrating "exigency,"

Berger v. New York, 388 U.S. 41 (1967), create a "genuine need" for

government officials to secretly intercept private conversations,

Dalia v. United States, 441 U.S. 238, 250 (1979) . That procedure of

impartial and fully informed "antecedent justification" is "a

constitutional precondition of . . . electronic surveillance." Katz v.

United States, 389 U.S. 347, 359 (1967)    (citation omitted) .



                          STATEMENT OF FACTS

     Alexander Chan is charged with one count of engaging in a

c onspiracy to procure and distribute adulterated and misbranded

performance enhancing drugs     ("PEDs")   to racehorses, and a second

count of engaging in a mail fraud and wire fraud conspiracy.

Indictment S6 20 Cr. 160    (MKV) .

     Dr. Chan has been a veterinarian since 2006, following his

graduation from The University of Pennsylvania, School of

Veterinary Medicine. His most recent employment has been with the

Empire Veterinary Group, from 2016 to 2020, where he was employed

a s an associate veterinarian, working for Kristian Rhein. His

employment at Empire Veterinary Group involved work which

occurred solely within New York State, specifically in the New

York City area. He has a steady history of employment as a

veterinarian since his graduation including employment with the

New York Racing Association from 2012 to 2015 as a track

veterinarian and regulatory veterinarian in charge of conductng

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pre-race musculo-skeletal examinations and ID verifications of

thoroughbreds.

      The FBI has been investigating the use of performance

enhancing drugs in the racing industry since 2017. See Baum

A ffirmation, Exhibit A, Servis Affidavit by S.A. Bentsson, at 17;

Exhibit B, Rhein Affidavit by S.A. Bergen at 21. As early as

2 013, The Jockey Club, which holds itself out to be an

organization dedicated to the improvement of thoroughbred

breeding and racing, has been looking into the use of PEDs,

specifically focusing on SGF-1000. In 2014, they requested that

the Racing Medication and Testing Consortium (RMTC) , purchase and

test a sample of SGF-1000, which is one of the alleged PEDs at

the center of the wiretap application filed through affidavits of

FBI agents for wire interceptions of both Jason Servis and

Kristian Rhein. RMTC Memo, Baum Affirmation Exhibit C. The

t esting conducted in 2014 demonstrated that SGF-1000 had no

illegal growth factors and was not a PED. After testing by the UC

Davis Maddy lab, which was sent a sample of SGF-1000, the RMTC

r ecommended to the Jockey Club that "given the limited efficacy

o f the product . . .   It might be better to pursue this as an

unlicensed medication." Baum Affirmation, Exhibit C, RMTC Memo.

     Since the testing was done at the request of the Jockey

Club, and the results sent to them, subsequent FBI meetings with

the Executive Vice President and Executive Director of the Jockey



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Club in August, 2018, as part of the FBI's investigation into the

use of PEDs as well as SGF-1000, should have revealed these

r esults. Baum Affirmation, Exhibit D. In addition, printed news

r eports disclosed that Australian Racing officials tested SGF-

1000 in 2015, and discovered that it did not contain any

prohibited substances. At the time of that discovery, it had been

widely reported as Australian Racing Stewards had warned all

trainers not to use this substance. Baum Affirmation, Exhibit E,

The Sydney Morning Herald, March 11, 2020. The FBI investigation

had to discover this.

     As part of their investigation which commenced in 2017, the

FBI has been working with

                                                                       See

Servis Affidavit by S.A. Bentsson at 18-19. There are documented

meetings with               and Special Agent                    as early

as January 25, 2018 whe]          informed the FBI that he controlled

which horses could be subject to out of competition blood tests.

He also advised the FBI that the Hong Kong lab was one of the

best in the world with the ability to test for drugs and banned

substances that other labs could not. He had been communicating

with Dr. Wan at the lab. Baum Affirmation, Exhibit F. The FBI

subsequently began communicating directly with the Hong Kong lab

and Dr. Wan. Exhibit M.

     The significance of these communications prior to the Servis



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and Rhein affidavits, is that the FBI should have known and

probably did know, what was known tc                    end Dr. Wan at

the Hong Kong Jockey Club Lab, that is, that years earlier, Hong

Kong had analyzed SGF-1000 and determined that it contained no

growth factors and was not a PED. Baum Affirmation, Exhibit G.

     Moreover, months before the Servis Affidavit, in January,

2 019, the FBI requested that a Confidential Source purchase

several substances believed to be PEDs for lab testing. Although

SGF-1000 was readily available for purchase to be tested, they

neglected to make such a purchase, likely because they already

knew the result. See Baum Affirmation Exhibit N.

    It is unlikely and improbable that these FBI agents did not

know that SGF-1000 had been tested prior to affidavits they

submitted in which it had been found not to contain any illegal

growth factors. They intentionally ignored the results of their

investigation which had focused on SGF-1000 and its history of

testing and intentionally omitted these facts from their

a ffidavits.

     As early as August 28, 2018, S.A                was also

collaborating with a private agency conducting a parallel

investigation called 5 Stones Intelligence, who was hired by the

Jockey Club, even conducting witness interviews while a 5 Stones

investigator was present. Baum Affirmation Exhibit D. This

collaboration should also have revealed what 5 Stones knew, that



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SGF-1000 is not a PED. That is because 5 Stones, conducting their

investigation on behalf of the Jockey Club, purchased SGF-1000

and submitted it to the Hong Kong Lab for testing. The result was

that it tested negative for growth factors and was not a PED.

     S .A.          collaborated with investigators from the New

Jersey Racing Commission on more than one occasion, allowing him

t o obtain out of competition blood samples for Jason Servis'

horses to determine the presence of PEDs or other illegal

substances. Baum Affirmation Exhibits H, M. Servis horses were

tested on June 1, June 3, June 5, and July 11, 2019. Id.

     Notably omitted from the Servis and Rhein affidavits is the

f act that in addition to out of competition testing conducted at

the request of the FBI with negative results, the FBI never

disclosed to the Court that post race testing of Jason Servis

horses during the period of time that Jason Servis was under

investigation by the FBI, has never resulted in a positive

f inding for illegal substances or PEDs. This fact negates the

r equest for wiretaps based on necessity, demonstrates the lack of

probable cause for a warrant and illustrates the blatant

omissions, along with false statements and misrepresentations,

which should result in suppression of the wiretaps and warranting

a Franks hearing.

     On April 30, 2019 when S.A.                         submitted an

a ffidavit   (for Jason Servis) , falsely claiming that SGF-1000 was



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an illegal PED and contained illegal growth factors, he had been

in contact with the Hong Kong Jockey Club Lab since January,

2 019, and had to know that recent testing had already commenced

by that lab on SGF-1000. Refusing to wait for the test results,

and ignoring earlier tests conducted by the same Hong Kong lab,

he falsely claimed that SGF-1000 was a PED in his affidavit

despite the body of evidence that it was not, intentionally

misleading the Court into a finding that probable cause existed

f or the granting of their wiretap application.

     Moreover, the FBI was actually aware of the results of the

Hong Kong Lab's testing of SGF-1000 by an email sent by

     t o S.A.          on June 24, 2019, and forwarded to other

agents on that same date, which found that SGF-1000 had "no

detectable amount of growth factors." The Hong Kong Jockey Club

lab noted that it had tested SGF-1000 several years ago, a fact

that the FBI had to know based on their continued relationship

with the lab for months prior to the Servis affidavit. Certainly,

based on this email and other investigative steps, when S.A.

       Filed his affidavit for wiretaps regarding Kristian Rhein

on June 27, 2019, he falsely claimed several times, that SGF-1000

had been found to be a PED containing illegal growth factors. Nor

did the FBI disclose in the wiretap affidavits for Jason Servis

and Kristian Rhein, that post race blood tests for Jason Servis'

horses in 2018 and 2019 never disclosed the presence of a PED.



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     Where an FBI agent makes several direct claims in a sworn

a ffidavit that the target of wiretaps has been using a known PED

( SGF-1000) , to affect the performance of horses, it is difficult

t o contemplate that this fact alone wouldn't warrant the issuance

o f a wiretap order on the basis of probable cause. If this fact

were intentionally and deliberately false, it is impossible to

contemplate that this statement was not material and improperly

r esulted in the authorization to conduct wiretaps.



                            ARGUMENT

    If the statutory and constitutional commands that the

government provide the court with a "full and complete" statement

o f the facts establishing probable cause and the necessity of

r esorting to wiretapping are to mean anything, they must mean

that the misrepresentations, false statements and omissions of

material facts that pervaded the government's wiretap

applications in this case mandate suppression or, at a minimum, a

hearing under Franks v. Delaware, 438 U.S. 154         (1978) , to assess

the extent of intentional or reckless misstatements and the

appropriateness of suppression. That is because the information

that the government deliberately and recklessly kept from the

authorizing court in this case goes to the very heart of the

probable cause and necessity determinations and constitutes the

t ype of critical information about the factual basis for probable


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cause, and the investigative needs of law enforcement that any

r easonable judge would want to know. The system of ex parte

applications for wiretap authorizations simply cannot function -

because courts cannot provide genuinely independent review of the

s tatutory and constitutional prerequisites to wiretapping -

unless a foundational level of governmental candor and

f orthrightness is maintained. In this case, that duty was

breached, which warrants suppression.



    I.     The Servis and Rhein Affidavits Contained Material
           Omissions And Intentionally False and Misleading
           Statements Which Do Not Support A Finding of Probable
           Cause


     When the Fourth Amendment and Title III "demand[] a factual

showing," the "obvious assumption is that there will be a

truthful showing" by the government. Franks, 438 U.S. at 164-165

( quotation omitted)   (emphasis in original) . The use of

intentionally or recklessly false statements in wiretap

a ffidavits is "an unthinkable imposition" on the ability of the

court to "determine independently whether there is probable

cause." Id. at 165.

     T o enforce Title III's stringent requirements,

Congress enacted a distinct statutory rule of suppression

that supplements the "judicially fashioned exclusionary

rule aimed at deterring violations of Fourth Amendment


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rights." Giordano, 416 U.S. at 524. Title III's statutory

suppression rule mandates the exclusion in court

proceedings of "the contents of any [wiretap], or evidence

derived therefrom" if the wiretap evidence "was unlawfully

intercepted," 18 U.S.C. § 2518(10) (a) (i) , i.e., "where

there is failure to satisfy any of those statutory

r equirements that directly and substantially implement the

congressional intention to limit the use of intercept

procedures to those situations clearly calling for the

employment of this extraordinary investigative device."

Giordano, 416 U.S. at 527. Because the "full and complete

s tatement" provisions "play a central role in the

s tatutory scheme," suppression "must follow when," as

here, those provisions "ha[ve] been ignored" by the

government. Id. at 528. In addition, the Fourth Amendment

independently requires a hearing to examine evidence of

" deliberate falsehood or of reckless disregard for the

t ruth" in the government's wiretap application, and

suppression when, as here, "the remaining content" of the

a ffidavit "is insufficient" to establish probable cause.

Franks, 438 U.S. at 171-72; see United States v. Ferguson,

7 58 F.2d 843, 848-49 (2d Cir. 1985)      (applying Franks to

wiretap affidavit) .

     The affidavits for both Servis and Rhein contain


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numerous false statements and misrepresentations made

concerning two drugs which have never been proven to act as

PEDs or contain growth factors; SGF-1000 and Clenbuterol.

Each of the affidavits allege that SGF-1000 "is a performance

enhancing substance known as a growth factor that promotes

tissue repair."    The Rhein affidavit makes this demonstrably

f alse statement at least three times.                Affidavit at

6 6, 68, 76.

     At the time that S.A.                 wrote this statement in

the affidavit for a wiretap of Kristian Rhein, he had

r eceived an email communication, three days earlier,

f orwarded to him from S.A.                    confirming that

t ests conducted by the Hong Kong Jockey Club lab determined

that SGF-1000 contains no growth factors and is not a PED.

Baum Affirmation, Exhibit I, FBI Email sent to S.A.

dated June 24, 2019.

     At the time that S.A                wrote this statement in an

a ffidavit to support a wiretap of Jason Servis, he had been

working with the Hong Kong Jockey Club lab for over three

months, testing blood samples sent to them from the FBI

looking for PEDs, including SGF-1000. He should have known

and likely did know that this same lab had tested SGF-1000,

r eceived from Medivet Equine years earlier, finding no growth

f actors, no PEDs. The FBI had the ability to purchase and



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test SGF-1000 but did not do so. This is stunning in view of

the fact that in January, 2019, they directed a confidential

source to purchase other substances for testing which they

believed to be PEDs. Baum Affirmation Exhibit N.

     In addition, a notable omission from the Servis

A ffidavit were the results of the out of competition blood

t ests, conducted during the course of the FBI's

investigation. Also omitted was the fact that no Jason Servis

horses had ever tested positive for PEDs in any post race

blood tests during their investigation. The Servis affidavit

makes reference to the success that Servis horses had in

2 018, intimating that this was due to PEDs. However, it does

not indicate that of the 143 wins by Servis horses in 2018,

not a single post race blood test demonstrated the presence

o f an illegal substance.

     S .A.              affidavit for the Servis wiretap alleges

incorrectly that Clenbuterol "assists a horse's breathing,

which enhances the horse's performance." Affidavit at 55.

This misleading and false statement is incorrect since the

Government's own expert in this case, (Dr. Cynthia Cole) has

t estified that any such effect lasts only a few hours after

administration. It would have had to be administered to a

horse shortly before a race and would have been found in post

r ace blood tests.   The Servis affidavit points to the fact



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that three of Servis' horses placed first in races at

Gulfstream Park on February 14, 2019, noting that under

Florida Rules "trainers are prohibited from administering

performance-enhancing substances to a horse to affect the

outcome of a race." Id. at 55, FN 26. They did not tell the

court in their affidavit that all three horses were tested

and none of them had Clenbuterol in their system.

      Another omission in the Rhein and Servis Affidavits were

the results of blood tests for samples taken under the

authority of                                                 for the

Meadowlands Racetrack, who had been meeting and working

closely with the FBI. Between January, 2018 and May, 2019,

             sent samples for testing to the Hong Kong Jockey

Club lab. The results of these samples, representing a

significant number of blood tests, including horses trained

by Jason Servis, were not disclosed in the Affidavits by

agents. Baum Affirmation Exhibit H.

      The Servis affidavit also alleges that Clenbuterol has

been used illegally to enhance a horse's performance.

Bentsson Affidavit at 55. Clenbuterol is a therapeutic drug

that is used regularly to treat asthma in horses. It is not

an illegal substance under any of the racing rules cited in

the            affidavit and has never been scientifically

f ound to be a performance enhancing drug. The Servis



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affidavit cites numerous state "Rules" related to Clenbuterol

but no allegation that any of those rules were violated such

a s to provide probable cause for a wiretap order. For

example, Agent Bentsson writes that the NY Gaming Commission

bans drugs with no accepted medical use in the horse when

treated. This would not cover Clenbuterol nor is it alleged

that this rule was violated. A July 31, 2018 publicly

available "Equine Medical Advisory" released by the New York

State Gaming Commission regarding Clenbuterol, sets forth

that its use is not prohibited when used in compliance with

existing NYSGC rules, 9 NYCRR 4043.2(i) (3)      and 4043(5) . In

other words Clenbuterol was permitted in New York at that

t ime so long as it is present in the horse's system below a

threshold limit and not administered within 14 days of a

r ace. Similar rules exist in New Jersey and Florida.         Florida

Rules prohibit substances administered within 24 hours of a

r ace within a level that exceeds normal physiological

concentrations. There is no such allegation in the affidavit

although the affidavit's misrepresentations attempt to have

the Court infer that the use of Clenbuterol is illegal.

     As set forth in his Affidavit, the presence of

Clenbuterol in trace amounts does not violate racing rules.

There is no evidence that Clenbuterol has been found in any

o f Jason Servis' horses in anything but trace amounts if at



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all. The affidavit however, misrepresents that Clenbuterol is

a performance enhancing substance. While certain state

"Rules" prohibit the use of Clenbuterol within 14 days of a

r ace, the presence of a trace amount in any horse does not

indicate a violation of these rules and regardless, does not

r epresent a substance that is performance enhancing such as

t o affect the performance of a horse.

     The Rhein affidavit also alleges that tranquilizers can

be used as a performance enhancing substance by calming a

horse, improving focus, and thus performance. Bergen

Affidavit at 95.    This misleading statement is the equivalent

o f saying that aspirins taken by athletes are performance

enhancing because they cure headaches and allow the athlete

t o focus on performance. In fact, the tranquilizer

Acepromazine, referred to as found in one lab test, is a

c ommonly used tranquilizer for horses. It stabilizes mood,

r educes anxiety and controls aggressiveness. In addition, it

lasts for only 30-60 minutes. There is no allegation that the

tranquilizer was used on the day of races for any of Servis'

horses. It is commonly used.

    II.    Suppression Under Franks

     Where a defendant makes a "substantial preliminary

showing" that a wiretap affidavit contains false statements

or omissions made "knowingly and intentionally, or with


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reckless disregard for the truth," and such misstatements

and omissions were "necessary to the finding of probable

c ause," "the Fourth Amendment requires that a hearing be

held" to determine whether suppression is warranted.

Franks, 438 U.S. at 171-72.         "Recklessness may be inferred

where the omitted information was           'clearly critical' to

the probable cause determination." Rivera v. United States,

9 28 F.2d 592,    604   (2d Cir. 1991)     (citation omitted) . As

specifically detailed herein and supported by the attached

e xhibits, Dr. Chan has made the requisite "substantial

preliminary showing" and is entitled to a Franks hearing

because, absent the recklessly or intentionally false

s tatements and material omissions contained in the Servis

and Rhein affidavits, probable cause to believe that the

designated offenses under Title III were committed, cannot

be established. See Franks, 438 U.S. at 171-72; Canfield,

2 12 F.3d 714, 718; United States v. Bianco, 998 F.2d 1112,

1125   (2d Cir. 1993) .



       III.       The Affidavits Do Not Address Title III
                  Designated Offenses


       Misrepresentations in the affidavits are compounded by

the government's request to use wiretaps to investigate a

crime - misbranding- that Congress specifically determined


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did not warrant the use of wiretaps and for which Congress

accordingly withheld wiretap authority. The Servis and

Rhein affidavits made reference to other designated Title

III offenses, but offered no facts to support those

allegations. Factual statements about the use of drugs

that may be mislabeled or used without a prescription make

out a probable cause case for misbranding, a non

designated offense. For example, if Clenbuterol was used

without a valid prescription, that is misbranding, not

f raud.

     Allegations of fraud involving electronic transfers of

purse money or wire registration of horses are misleading.

While each of Servis'     and Rhein's affidavits reference

that the use of wires is used to register horses in races

and to distribute purse winnings, there is no allegation

that either Servis or Rhein engaged in wire transfers. The

a ffidavits indicate that registration of horses may be

done by wire or in person. The winnings in races may be

t ransferred electronically, or by hand.                   Affidavit

f or Servis, at 29; Bergen affidavit for Rhein at 70.

     Allegations that the use of performance enhancing

drugs may result in fraud on the betting public, the

r acetracks, or competitors is misleading. Moreover, there

is no factual basis to believe that SGF-1000 or



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Clenbuterol are PEDs, thus no basis for a probable cause

f inding related to fraud. In addition, the fact that there

is no evidence nor factual assertions in any affidavit

that Jason Servis or Kristian Rhein placed any bets on the

horses they allegedly doped, further negates any finding

o f fraud as a matter of law. United States v. Webb, 24

F .Supp.3d 432   (M.D. Penn. 2014) , distinguishing United

S tates v. Martin, 411 F.Supp. 2d 370       (S.D.N.Y. 2006) .

     Allegations in the Rhein affidavit based on wiretap

c onversations obtained as a result of the order issued to

wiretap Jason Servis, may not be used to establish

probable cause if that order was obtained in violation of

Title III's strict requirements. Consequently, those

allegations cannot provide probable cause for the Rhein

wiretap.   (e.g. allegations of false billing captured in

the Servis wiretaps) . 18 U.S.C. §2515.



    IV.    The Wiretap Affidavits Do Not Satisfy the
           Necessity Provision of Title III


     Title III's requirement that the government provide

the authorizing court with a "full and complete statement

o f the facts and circumstances" establishing probable

c ause and a "full and complete statement" of the other

" investigative procedures     [that] have been tried" and the



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reasons that other measures would "be unlikely to

succeed," 18 U.S.C. § 2518(1) (b) , (c) , are the backbone of

t he statute's requirement that "[t]he district judge, not

the agents, must determine whether the command of Congress

has been obeyed." United States v. Spagnuolo, 549 F.2d

7 05, 711 (9th Cir. 1977) . Unless the government sets forth

the relevant facts and circumstances comprehensively and

candidly, the court cannot make the "independent

evaluation of the matter" that both Title III and the

Fourth Amendment require. Franks, 438 U.S. at 165; See

United States v. Gigante, 538 F.2d 502, 503           (2d Cir. 1976)

( Title III was designed "to ensure careful judicial

s crutiny") . "[T]he affidavit must show with specificity

why in this particular investigation ordinary means of

investigation will fail." United States v. Robinson, 698

F .2d 448,   453   (D.C. Cir.1983)   (per curiam) ; see United

S tates v. Ippolito, 774 F.2d 1482, 1486 (9th Cir. 1985)

( same) .

      The Second Circuit has acknowledged that it would be

more efficient to wiretap whenever a phone was used to

f acilitate the commission of a crime, but the statutory

r equirement reflects a congressional judgment that the

c ost of such efficiency in terms of the privacy interests

is too high. United States v. Concepcion, 579 F.3d 214,



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218   (2d Cir. 2009) , citing United States v. Lilia, 699 F2d

9 9, 105 n.7   (2d Cir. 1983) .

      T o justify the wiretap request, each of the affidavits

allege that other investigative methods have been tried

and would be unlikely to succeed. That is not true.

      It is astonishing that even the most basic and

apparent investigative technique was not utilized by the

FBI. They never purchased or obtained a sample of SGF-

1000, openly sold by Medivet Equine,          for testing before

t hey declared it to be a PED with growth factors.

      For Jason Servis, it is alleged that he had been using

SGF-1000 as a PED for his horses.          The affidavit claims as

t o necessity, that a wiretap was necessary to determine

the source of his supply and the network of distribution

and means for obtaining and administering substances. The

FBI were aware that Servis'        trainer, Kristian Rhein was

a ssociated with Medivet Equine which openly advertised the

s ale of SGF-1000. Rhein advertised that he was a

s cientific research consultant for Medivet from 2013 to

2 020 and he also held an ownership interest. See Medivet

Equine website, Baum Affirmation Exhibits J, K, L.

Determination of the source of SGF-1000 is apparent. If

the FBI subpoenaed Medivet records of sales, they would

have determined exactly when, where, and how much SGF-1000



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was sent to Jason Servis or his trainer Kristian Rhein. If

t hey subpoenaed Medivet or Servis emails, they could have

r eached the same conclusions. If they subpoenaed Servis

and Rhein bank records, they could have discovered the

t ransfer of funds to Medivet and dates of transfers.

Billing records would also provide results unavailable in

wiretaps. Delivery records would show exactly to whom and

the location where the substances were stored upon

delivery, providing information which could be used in

s earch warrants. In fact, the                 Affidavit for Jason

Servis, acknowledged the value of search warrants which

w ere issued and executed with delayed notification.

Bentsson Affidavit at 71, FN's 35, 36.

     The FBI also had the ability to request the testing of

blood samples of Servis horses in out of competition

t ests, which they specifically requested on at least one

prior occasion in December, 2018, asking a New Jersey

Racing Commission Investigator to take samples from seven

horses. Baum Affirmation Exhibit L, FBI Report.

Continuation of this practice, which began months prior to

t he wiretap application would have provided valuable

information as to the specific horses that may have been

subjected to illegal substances. Once horses were determined

t o have been provided illegal substances (if any) , the FBI



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could have determined their locations at the approximate

t ime they would have been doped and then could have executed

s earch warrants to recover any illegal substances. None of

this was done, nor was the FBI's use and ability to obtain

out of competition blood tests disclosed to the court in any

a ffidavit.

        Accordingly, because "the necessity requirement 'directly

and substantially implcment[s]       the congressional intention to

limit the use of intercept procedures to those situations

clearly calling for their employment,"' United States v.

Mondragon, 52 E3d 291, 294       (10th Cir. 1995)    (quoting United

S tates v. Donovan, 429 U.S. 413, 433-34        (1977) ) , and because

the record in this case illustrates with unusual clarity that

the "normal investigative procedures that were used were

successful," United States v. Lilla, 699 F.2d 99, 104,           (2d Cir.

1983)    and methods not used would have achieved the desired

r esults, the wiretaps and evidence' derived therefrom must be

suppressed.

        T o show that traditional methods would not be likely to

succeed, an affidavit must allege specific circumstances

that render normal investigative techniques particularly

ineffective. Ippolito, 774 F.2d at 1486. Boilerplate

a ssertions that "are unsupported by specific facts relevant

t o the particular circumstances of         [the]   case" are not

sufficient. United States v. Blackmon,           273 F.3d 1204, 1210




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(9th
       Cir. 2001) .

       In fact, the               affidavit for Servis acknowledged

that    financial investigation had provided valuable

information and that on-going wiretaps had disclosed new

information. Bentsson affidavit at 73-74.

       The            Affidavit    (Servis)   and the

A ffidavit    (Rhein) , as demonstrated above, contains omissions

and misstatements regarding the necessity for a wiretap.

Absent these material misstatements and omissions,            each

application contains only generalized statements rather than

specific facts necessary to satisfy the requirements of

§ 2518(1) (c) .




       IV.    There Is No Probable Cause To Believe That Jason
              Servis' and Kristian Rhein's Cell Phones Which Are
              The Target Of The Wiretap Authorizations Were Being
              Used For Criminal Purposes


       Title III wiretap authorizations require that probable

c ause be established to believe that the targeted phone is

being used for criminal purposes, or "are leased to, listed in

the name of, or commonly used by such person." 18 U.S.C.

§2518(3) (d) .

       Thee           affidavit for Jason Servis notes that the

t arget cellphone is not "leased to" Jason Servis, but is

subscribed to in the name of "Natalie Servis."

A ffidavit at 8. Nor does the affidavit satisfy the requirement

that the target phone is "commonly used by" Jason Servis. S.A.


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Bentsson notes that on one occasion, the intercepted phone call

o f the Navarro phone, disclosed that the user was referred to

a s "Jason." Subsequent conversations of an innocuous nature are

alleged by Bentsson to be between Navarro and Jason Servis. In

addition, the target phone is listed as a contact number for

Jason Servis' business, neither of which establishes the

" commonly used" criteria required. Bentsson affidavit at 8, FN

10.


      The government bears the burden of showing,         through a

" full and complete statement" of the relevant facts and

c ircumstances,   "a fair probability that . . . evidence of a

c rime w[ould] be found" specifically in Jason Servis'          cell

phone conversations. The Bentsson Affidavit fails to meet that

burden.

      The probable cause alleged is based on an innocuous

c onversation intercepted on the Navarro phone in which Navarro

tells the other person (alleged to be Servis)       that medications

should be kept under lock, and a discussion about the use of

SGF-1000 and Clenbuterol, neither of which has ever been proven

t o be a performance enhancing substance in Bentsson's

a ffidavit. To the contrary, as set forth above, lab tests known

t o the FBI show that SGF-1000 is not a PED or growth factor,

and that Clenbuterol was found in Servis' horses in a trace

amount. No facts in the affidavit support a finding that

Clenbuterol is a PED. No facts support a finding that the

t argeted phone is being used in furtherance of criminal


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activity.

     In United States v. Gotti, 459 FR.3d 296, 344-45        (2d Cir.

2 006) , the Court affirmed a probable cause finding that a

t argeted phone was used in connection with the commission of a

criminal offense based on an affidavit that detailed

surveillance; toll records; and false subscriber information

which indicated use of the phone in organized crime activity.

Similarly, the Second Circuit affirmed a wiretap application

s etting forth probable cause to believe that the targeted phone

was used in the furtherance of drug trafficking where the

a ffidavit contained a detailed account of how the use of the

phone and key Latin King gang members conducted their illegal

activities over the target phones, setting forth specific

instances where the phone was used in this regard. United

S tates v. Diaz, 176 F.3d 52, 110    (2d Cir. 1999) .

     In an effort to sustain their burden in the Servis

A ffidavit, an analysis of the cell phone use was provided over

a 10 month period. The affidavit sets forth that the phone was

used to contact                          an owner and breeder, nine

t imes by calls and 39 times electronically. A conclusory

s tatement is made that             is an owner that condones or

encourages horse doping by trainers. However, there are no

specific factual allegations that any one of those calls were

in furtherance of illegal offenses.               Affidavit at 61.

     In the analysis of the Rhein phone, the              Affidavit

makes no factual statements to establish probable cause to



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believe that the phone has been used in the furtherance of

criminal offenses. There is an analysis of the number of toll

calls and a statement that the Rhein phone connected with

another targeted phone but no factual statement is offered to

believe that any phone calls discussed criminal offenses.

Bergen Affidavit at 101-102.

                            CONCLUSION

     Title III commands in plain and unqualified terms that

"no part of the contents of       [an intercepted]   communication

and no evidence derived therefrom may be received in

e vidence in any trial . . .       before any court . . .       if the

disclosure of that information would be in violation of

Title III. 18 U.S.C. § 2515. The Supreme Court has held that

Title III, 18 U.S.C. § 2518(10) (a) , "require[s]       suppression

where there is failure to satisfy any of those statutory

r equirements that directly and substantially implement the

c ongressional intention to limit the use of intercept

procedures to those situations clearly calling for the

employment of this extraordinary investigative device,"

Giordano, 416 U.S. at 527. The requirement of a full and

c omplete - and forthright - statement of the material facts

e stablishing probable cause directly and substantially

implements Title III's "stringent conditions" on wiretap

authority, Gelbard, 408 U.S. at 46,       and is indispensable to

ensuring the independent       judicial review of ex parte wiretap

applications that is essential to vindicate Congress's

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"overriding" concern with privacy, id. at 48. Accordingly,

a s set forth herein, the government's violations of Title

III in this case warrant statutory suppression under Title

III, as well as constitutional suppression under the Fourth

Amendment.


Dated:       New York, New York
             August 2, 2021


                                        pectfully submitte



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